Case 1:22-mj-01155-TAM Document 6 Filed 10/26/22 Page 1 of 26 PageID #: 25


                                                                                    CLOSED
                       U.S. District Court
             Eastern District of New York (Brooklyn)
 CRIMINAL DOCKET FOR CASE #: 1:22−mj−01155−TAM All Defendants

Case title: USA v. Iakovou                            Date Filed: 10/26/2022

                                                      Date Terminated: 10/26/2022

Assigned to: Magistrate Judge
Taryn A. Merkl

Defendant (1)
George Iakovou                  represented by Ira Lee Sorkin
TERMINATED: 10/26/2022                         Mintz and Gold LLP
                                               600 Third Ave
                                               25th Floor
                                               New York, NY 10016
                                               212−696−4848
                                               Email: sorkin@mintzandgold.com
                                               LEAD ATTORNEY
                                               ATTORNEY TO BE NOTICED
                                               Designation: Retained

Pending Counts                                Disposition
None

Highest Offense Level
(Opening)
None

Terminated Counts                             Disposition
None

Highest Offense Level
(Terminated)
None

Complaints                                    Disposition
18:1343.F



Plaintiff
Case 1:22-mj-01155-TAM Document 6 Filed 10/26/22 Page 2 of 26 PageID #: 26


USA                                             represented by Irisa Chen
                                                               Edny−USAO
                                                               271−A Cadman Plaza East
                                                               Brooklyn, NY 11201
                                                               718−254−6124
                                                               Email: irisa.chen@usdoj.gov
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Designation: Government Attorney

                  Select                                                                           Docket
 Date Filed   #   all / clear                                                                      Text
 10/26/2022   1   RULE 5 AFFIDAVIT/REMOVAL TO THE MIDDLE DISTRICT OF
                  GEORGIA by USA as to George Iakovou (FC) (Entered: 10/27/2022)
 10/26/2022       Arrest (Rule 5) of George Iakovou (FC) (Entered: 10/27/2022)
 10/26/2022       Minute Entry for proceedings held before Magistrate Judge Taryn A.
                  Merkl:Arraignment as to George Iakovou (1) Count Complaint held on
                  10/26/2022, Initial Appearance in Rule 5(c)(3) Proceedings as to George
                  Iakovou held on 10/26/2022. AUSA Irisa Chen present. Dft present w/ret
                  counsel Ira Sorkin. Removal proceeding to the Middle District of Georgia
                  hearing held. Dft waived identity hearing. Dfse counsel & govt agree on a
                  $1,500,000 bond with 2 sureties & 1 property. 2 sureties sworn, advised of the
                  bond obligations and signed the bond. Dft advised of the bond conditions and
                  signed the bond. Dft released on $1,500,000 bond. Rule 5f warnings given to
                  the govt. (FTR Log # 10/26/22 4:09−4:41.) (FC) (Entered: 10/27/2022)
 10/26/2022   2   ORDER Setting Conditions of Release as to George Iakovou (1) $1,500,000.
                  Ordered by Magistrate Judge Taryn A. Merkl on 10/26/2022. (FC) (Entered:
                  10/27/2022)
 10/26/2022   3   WAIVER of Rule 5(c)(3) Hearing by George Iakovou (FC) (Entered:
                  10/27/2022)
 10/26/2022   4   NOTICE OF ATTORNEY APPEARANCE: Ira Lee Sorkin appearing for
                  George Iakovou (FC) (Entered: 10/27/2022)
 10/26/2022   5   ORDER: This order is entered pursuant to Federal Rule of Criminal Procedure
                  5(f) to confirm the prosecution's disclosure obligations under Brady v.
                  Maryland, 373 U.S. 83 (1963), and its progeny, and to summarize the possible
                  consequences of violating those obligations as to George Iakovou. Ordered by
                  Magistrate Judge Taryn A. Merkl on 10/26/2022. (FC) (Entered: 10/27/2022)
Case 1:22-mj-01155-TAM Document 6 Filed 10/26/22 Page 3 of 26 PageID #: 27
Case 1:22-mj-01155-TAM Document 6 Filed 10/26/22 Page 4 of 26 PageID #: 28
Case 1:22-mj-01155-TAM Document 6 Filed 10/26/22 Page 5 of 26 PageID #: 29
Case 1:22-mj-01155-TAM Document 6 Filed 10/26/22 Page 6 of 26 PageID #: 30
Case 1:22-mj-01155-TAM Document 6 Filed 10/26/22 Page 7 of 26 PageID #: 31
Case 1:22-mj-01155-TAM Document 6 Filed 10/26/22 Page 8 of 26 PageID #: 32
Case 1:22-mj-01155-TAM Document 6 Filed 10/26/22 Page 9 of 26 PageID #: 33
Case 1:22-mj-01155-TAM Document 6 Filed 10/26/22 Page 10 of 26 PageID #: 34
Case 1:22-mj-01155-TAM Document 6 Filed 10/26/22 Page 11 of 26 PageID #: 35
Case 1:22-mj-01155-TAM Document 6 Filed 10/26/22 Page 12 of 26 PageID #: 36
Case 1:22-mj-01155-TAM Document 6 Filed 10/26/22 Page 13 of 26 PageID #: 37
Case 1:22-mj-01155-TAM Document 6 Filed 10/26/22 Page 14 of 26 PageID #: 38
Case 1:22-mj-01155-TAM Document 6 Filed 10/26/22 Page 15 of 26 PageID #: 39
Case 1:22-mj-01155-TAM Document 6 Filed 10/26/22 Page 16 of 26 PageID #: 40
Case 1:22-mj-01155-TAM Document 6 Filed 10/26/22 Page 17 of 26 PageID #: 41
Case 1:22-mj-01155-TAM Document 6 Filed 10/26/22 Page 18 of 26 PageID #: 42
Case 1:22-mj-01155-TAM Document 6 Filed 10/26/22 Page 19 of 26 PageID #: 43
Case 1:22-mj-01155-TAM Document 6 Filed 10/26/22 Page 20 of 26 PageID #: 44
Case 1:22-mj-01155-TAM Document 6 Filed 10/26/22 Page 21 of 26 PageID #: 45
Case 1:22-mj-01155-TAM Document 6 Filed 10/26/22 Page 22 of 26 PageID #: 46
Case 1:22-mj-01155-TAM Document 6 Filed 10/26/22 Page 23 of 26 PageID #: 47
Case 1:22-mj-01155-TAM Document 6 Filed 10/26/22 Page 24 of 26 PageID #: 48
Case 1:22-mj-01155-TAM Document 6 Filed 10/26/22 Page 25 of 26 PageID #: 49
Case 1:22-mj-01155-TAM Document 6 Filed 10/26/22 Page 26 of 26 PageID #: 50
